         Case 19-03637 Document 25 Filed in TXSB on 03/27/20 Page 1 of 8




                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS


                                                         )
 In re:                                                  ) Chapter 7
                                                         )
 VENTECH ENGINEERS LP, et. al.,                          )
                                                         ) Case No. 17-33203
 Debtor.                                                 )
                                                         )
 ------------------------------------------------------- )
                                                         )
 RODNEY D. TOW, CHAPTER 7 TRUSTEE ) Adversary No. 19-03637
 FOR THE ESTATE OF VENTECH                               )
 ENGINEERS LP                                            )
                                                         )
 Plaintiff                                               )
                                                         )
                            v.                           )
                                                         )
 VENTECH HOLDINGS 3 LLC,                                 )
 INTERNAL REVENUE SERVICE AND                            )
 CHARLES P. RETTIG                                       )
                                                         )
 Defendants                                              )
                                                         )
                                                         )

     DEFENDANT’S REPLY IN SUPPORT OF MOTION FOR JUDGMENT ON THE
                               PLEADINGS
                           [Docket Nos. 23 and 24]

       Defendant Ventech Holdings 3 LLC (“Defendant” or “V3”), by and through its

undersigned counsel, respectfully submits this Reply in Support of its Motion For Judgment on

the Pleadings pursuant to Federal Rule of Civil Procedure 12(c) and Federal Rule of Bankruptcy

Procedure 7012.

I.     ARGUMENT

       A.      The Trustee Offers No Binding Authority That Allows Him To Recover
               From V3.

       There is no binding authority that permits the Trustee to recover from V3 in these

circumstances. The Opposition does not cite a single fraudulent transfer case that is analogous to



10509447v1
         Case 19-03637 Document 25 Filed in TXSB on 03/27/20 Page 2 of 8




this one—where avoidance of the initial transfer could never occur because the initial transferee

has been dismissed with prejudice from the case (indeed, with the consent and on the motion of

the plaintiff). Moreover, even if they were relevant, all of the cases cited in the Opposition are

district court and out-of-circuit precedents that have no binding effect on this case.

       Shapiro v. Art Leather, Inc. (In re Connolly N. Am., LLC), 340 B.R. 829 (Bankr. E.D. Mich.

2006), cited in Opp. ¶ 17, concerned a preference claim under Section 547(b), not a fraudulent

transfer claim under Section 548—and the Court specifically distinguished the case on that basis.

Id. at 840. Unlike Section 548, Section 547(b)(1) permits avoidance of a transfer “to or for the

benefit of a creditor.” Accordingly, in a preference case, “the transfer beneficiary is a proper party

defendant to the Trustee’s avoidance action, given the wording of § 547(b)(1).” Id. at 839. That

language does not appear in Section 548, so to the extent that Art Leather has any relevance here

it would suggest a different result should apply in a fraudulent transfer case.

       Tese-Milner v. Brune (In re Red Dot Scenic, Inc.), 293 B.R. 116 (S.D.N.Y. 2003), cited in

Opp. ¶ 13, a New York district court decision, concerned a transfer to an initial transferee—not a

subsequent transferee—and unlike the Trustee here, the trustee in Red Dot did bring an avoidance

claim against the initial transferee. Id. at 117. The Court made it clear that only “[o]nce it is

established that the trustee is entitled to avoid transfers under section 548,” may he proceed to

recover from transferees under section 550(a)—which is exactly V3’s point. Id. at 118. The

defendant did not dispute the elements of the trustee’s avoidance claim, and the Court therefore

proceeded to consider the trustee’s right to recover under Section 550(a).

       In Kendall v. Sorani (In re Richmond Produce Co., Inc.), 195 B.R. 455 (N.D. Cal. 1996),

cited in Opp. ¶ 16, a trustee sought to recover from an immediate transferee—a bank holding a

cashier’s check—without first bringing suit against the initial transferee, the individual who


                                                  2
10509447v1
         Case 19-03637 Document 25 Filed in TXSB on 03/27/20 Page 3 of 8




deposited the check. 195 B.R. at 459. But there was nothing barring an avoidance action against

the initial transferee to avoid the transfer—there was no suggestion that the statute of limitations

had run against the initial transferee, no avoidance or recovery suit had been brought against the

initial transferee, and there was no order dismissing any such claim with prejudice. In contrast,

the Trustee here cannot ever avoid the transfer to the IRS because he has agreed to dismiss the IRS

with prejudice from the case.

       Likewise, in both In re Mirant Corp., No. 03-046590 DML, 2010 WL 8708772 (Bankr.

N.D. Tex. Apr. 22, 2010) and Guffy v. Brown (In re Brown Medical Center, Inc.), No. 16-0084,

2017 WL 5067603 (S.D. Tex. Sept. 11, 2017); Opp. ¶¶ 18, 19, there was nothing barring an

avoidance action against the initial transferees. As a result, neither court considered the argument

raised here—that the Trustee can never avoid the initial transfer because he has agreed to dismiss

the initial transferee with prejudice. And both Courts acknowledged a split of authority on the

central issue of whether avoidance of the initial transfer is a precondition to recovery. See Mirant

Corp., 2010 WL 8708772, at *35; see also Guffy, 2017 WL 5067603, at *3.

       In Redmond v. NCMIC Fin. Corp. (In re Brooke Corp.), 488 B.R. 459 (Bankr. D. Kan.

2013), a Kansas district court declined to extend the reasoning in Slack-Horner—which concerned

subsequent transferees—to the case before it, which concerned transfer beneficiaries. 488 B.R.

at 466. The Court did not explain why transfer beneficiaries are distinct from subsequent

transferees for the purposes of the Code’s avoidance and recovery provisions, even though it

acknowledged that Section 550(a) authorizes recovery—without distinction—from (i) an initial

transferee, (ii) the party for whose benefit the transfer was made, and (iii) any immediate or

mediate (subsequent) transferee. Id. The Trustee offers no explanation for this conclusion either,

and it finds no support in the statutory language. In any event, if the Trustee is correct, then none


                                                 3
10509447v1
         Case 19-03637 Document 25 Filed in TXSB on 03/27/20 Page 4 of 8




of the cases he offers lends support to his position; all of them concern either initial or subsequent

transferees.

       The Trustee cites no cases that support his reading of TUFTA either. Tow v. Speer, 2015

WL 1058080 (S.D. Tex. Mar. 10, 2015), cited in Opp. ¶ 13, says nothing about whether avoidance

is a precondition to recovery under the statute. In the cited section, the Court merely concluded

that the Trustee did not waive his right to seek a money judgment by failing to include the correct

statutory provisions in his complaint. In any event, the Court was clear that Mr. Tow “sought to

avoid the transfers” at issue—something he cannot do in this case. See id. at *8.

       B.      Numerous Courts Have Held That Avoidance is a Requirement of Recovery

       The IRS has now been dismissed with prejudice from the case—with the consent of the

Trustee.1 As a result, the payment to the IRS can never be avoided. Based on the clear language

of the Bankruptcy Code, the transfer therefore cannot be recovered from V3, the transfer

beneficiary.

       There is extensive support for this position. Numerous courts have confirmed that § 550

requires that a plaintiff successfully avoid a transfer to the initial transferee under § 548 in order

to recover from a subsequent transferee. See, e.g., Weinman v. Simons (In re Slack-Horner

Foundries Co.), 971 F.2d 577, 580 (10th Cir. 1992) (“[I]n order to recover from a subsequent

transferee the trustee must first have the transfer of the debtor’s interest to the initial transferee

avoided under § 548”); Smith v. Nicholas/Earth Printing, L.L.C. (In re Bob Nicholas Enters., Inc.),

358 B.R. 693, 713 (Bankr. S.D. Tex. 2007) (“As liability of a transferee under 11 U.S.C. § 550 is

predicated upon avoidance of a transfer under §§ 548 or 549, the Court finds that the trustee has



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  The Trustee conveniently mischaracterizes V3’s argument as being based on the statute of
limitations. See Opp. ¶ 17. But V3’s Motion said absolutely nothing about the statute of
limitations.
                                                  4
10509447v1
         Case 19-03637 Document 25 Filed in TXSB on 03/27/20 Page 5 of 8




failed to prove a cause of action under 11 U.S.C. § 550.”); Silverman v. K.E.R.U. Realty Corp. (In

re Allou Distribs.), 379 B.R. 5, 19 (Bankr. E.D.N.Y. 2007) (“Thus, before the Trustee may obtain

an ‘actual recovery’ from the Movants under § 550(a), he must first avoid the underlying initial

transfers.”); Geltzer v. Fur Warehouse, Ltd. (In re Furs by Albert & Marc Kaufman, Inc.), No. 05-

1838, 2006 Bankr., 2006 WL 3735621, at *8 (Bankr. S.D.N.Y. Dec. 14, 2006) (noting that an

“essential element” of a trustee’s recovery under § 550(a) was his avoidance of the initial transfer);

Williams v. Mortillaro (In re Res., Recycling & Remediation, Inc.), 314 B.R. 62, 69 (Bankr. W.D.

Pa. 2004) (“Section 550(a) is a recovery provision and gives rise to a secondary cause of action

which applies after the trustee has prevailed under one (or more) of the avoidance provisions found

in the Bankruptcy Code.”); Yoppolo v. Liberty Mortgage (In re Morgan), 276 B.R. 785, 789

(Bankr. N.D. Ohio 2001) (“[E]xamination of the statutory language” of § 550 and “its legislative

history” lead to the conclusion that a “trustee must first avoid an underlying transfer” before

seeking to recover); Greenwald v. Latham & Watkins (In re Trans-End Tech., Inc.), 230 B.R. 101,

104–05 (Bankr. N.D. Ohio 1998) (“[A] transfer must be avoided, rather than shown to be merely

avoidable, before recovery from any transferee can be accomplished.”);2 Brandt v. Hicks (In re



2
  Citing ABA Model Rule 3.3(a)(2), the Trustee erroneously claims that because counsel of record
in this case supposedly have “institutional knowledge” of the outcome in Greenwald, counsel
should have disclosed the non-binding authorities (cited in the Trustee’s Opposition) which
subsequently cited Greenwald. Opp. ¶ 3. But there is no reason why Latham & Watkins, as a
firm, would be aware of cases from other circuits that subsequently distinguished Greenwald years
after Latham’s involvement concluded, i.e., after the case was decided in 1998. In addition, none
of the lawyers representing V3 were involved in Greenwald. And in any event, the cases cited in
the Opposition are not controlling, so ABA Model Rule 3.3(a)(2) did not require their disclosure.
See Jones v. Wells Fargo Home Mortg., Inc. (In re Jones), 418 B.R. 687, 695 n.26 (E.D. La. 2009)
(failure to disclose controlling Fifth Circuit precedent could violate Louisiana Rule of Professional
Conduct 3.3(a)(2)); Shelton v. S. Energy Homes, Inc., 420 F. Supp. 2d 579, 580 n.1 (S.D. Miss.
2006) (failing to disclose controlling U.S. Supreme Court and Fifth Circuit precedent violated
Mississippi Rule of Professional Conduct 3.3(a)(2)); Chew v. KPMG, LLP, 407 F. Supp. 2d 790,
802 n.13 (S.D. Miss. 2006) (failure to disclose controlling Fifth Circuit authority violated
Mississippi Rule 3.3(a)(2)).
                                                  5
10509447v1
         Case 19-03637 Document 25 Filed in TXSB on 03/27/20 Page 6 of 8




Healthco Int’l, Inc.), 195 B.R. 971, 981–82 (Bankr. D. Mass. 1996) (“If the initial transferee makes

a second transfer, the property may be recovered from the later transferee only if the ‘transfer is

avoided’ with respect to the ‘initial transferee.’”); Santee v. Nw. Nat’l Bank (In re Mako, Inc.), 127

B.R. 471, 473 (Bankr. E.D. Okla. 1991) (“§ 550(a) is a secondary cause of action after a properly

appointed representative has prevailed pursuant to the avoidance sections of the Code.”).

       That is because the language of the statute is clear: a plaintiff is permitted to recover the

value of a transfer from a subsequent transferee or beneficiary “[t]o the extent that a transfer is

avoided.” 11 U.S.C. § 550(a). The Trustee effectively contends that the word “avoided” actually

means “avoidable,” see Opp. ¶ 14, but that argument is belied by the language of the Code itself.

In contrast to Section 550(a), in other sections of the Code where it was intended that a court

merely determine whether a transfer is avoidable, the term “avoidable” is used. See In re Consol.

Capital Equities Corp., 143 B.R. 80, 84 (Bankr. N.D. Tex. 1992) (noting that the express language

of Section 502(d) of the Bankruptcy Code “does not require that the transfer be avoided, only that

it be ‘avoidable.’”); In re McCowan, No. 09-10347-8-SWH, 2018 WL 4056991, at *3 (Bankr.

E.D.N.C. Aug. 24, 2018) (distinguishing between “avoidable” claims under Section 502(d) and

“avoided” claims under Section 544). The Code clearly and deliberately separates the concepts of

avoidance and recovery—and makes avoidance a precondition to recovery.                The Trustee’s

construction disregards the clear statutory language and conflates the Code’s avoidance and

recovery provisions.3



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  The Trustee takes issue with Enron Corp. v. Int’l Fin. Corp. (In re Enron Corp.), 343 B.R. 75
(Bkr. S.D.N.Y.); Opp. ¶ 22. But he conveniently omits the fact that the appellate court approved
the reasoning of the lower court, confirmed that avoidance is a “condition precedent” to recovery,
and specifically upheld “the normal regimen” of first proceeding to avoid an initial transfer, and
then proceeding to recover from the initial transferee. See Tr. of Oral Argument, In re Enron
Creditors Recovery Corp., 388 B.R. 489 (S.D.N.Y. 2008) at 38:8–13. Although the court accepted
the possibility that an equitable exception to this “useful” general rule might be available where
                                                  6
10509447v1
         Case 19-03637 Document 25 Filed in TXSB on 03/27/20 Page 7 of 8




       Moreover, Section 548(a)—in contrast to other sections of the Code, such as Section 547—

does not permit the Trustee to recover from a person for whose benefit the transfer was made. See

11 U.S.C. § 547(b)(1). To the contrary, Section 548(a) explicitly encompasses one particular kind

of beneficiary—“an insider under an employment contract”—but otherwise does not encompass

beneficiaries. To give meaning to this distinction between Section 547 and 548 , beneficiaries

(other than insiders) are not proper defendants in avoidance actions for fraudulent transfers under

Section 548, unlike for preference claims under Section 547. Cf. Shapiro v. Art Leather, Inc. (In

re Connolly N. Am., LLC), 340 B.R. 829 (Bankr. E.D. Mich. 2006)

       Finally, even if Section 550(a) only required that a transfer be “avoidable,” that

requirement would still not be met here. In this case, the transfer to the IRS can never be avoided

because the Trustee has dismissed the initial transferee with prejudice. As a result, the initial

transfer is not “avoidable” in any sense. And the Trustee’s actions here show that he knows this

fatal flaw in his claim. The Trustee, despite having failed to enter into a tolling agreement with

the IRS and knowing that the action was time-barred, sued the IRS for avoidance under Section

548. The Trustee then immediately (and understandably) agreed to dismiss the IRS with prejudice

from the case. The only reason for the Trustee to have brought his futile claim against the IRS

was to manufacture some argument that he had sought to avoid the initial transfer. But this tactic

cannot save the Trustee’s claim; instead, by agreeing to dismiss the IRS with prejudice, he

voluntarily ensured that the initial transfer could never be avoided. Accordingly, the Trustee

cannot recover from V3 under Section 550(a).




the initial transferee is made defunct through the complicit action of subsequent transferee
affiliates, the Court specifically upheld the general rule in cases where—as here—there are “live
companies on all three ends,” or “two live companies” and a trustee. Id. at 27:21–24.
                                                7
10509447v1
         Case 19-03637 Document 25 Filed in TXSB on 03/27/20 Page 8 of 8




 Dated: March 27, 2020                            PORTER HEDGES LLP

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                                  CERTIFICATE OF SERVICE

       I certify that on March 27, 2020, I caused a copy of the foregoing document to be served

by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern

District of Texas.



                                           /s/ John F. Higgins
                                           John F. Higgins




                                              8
10509447v1
